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                                 #:52020




                 EXHIBIT 11
          Case 8:20-cv-00048-JVS-JDE Document 744-13 Filed 05/25/22 Page 2 of 2 Page ID
                                           #:52021



From:                     Mark.Kachner <Mark.Kachner@knobbe.com>
Sent:                     Friday, February 25, 2022 6:16 PM
To:                       Passamaneck, Nora Q.E.; Masimo.Apple; *** Apple-Masimo
Cc:                       WH Apple-Masimo Service List
Subject:                  RE: Masimo Corp. et al. v. Apple Inc., 20-cv-00048: correspondence



EXTERNAL SENDER


Counsel,

We are considering your proposals in your February 23, 2022 letter. In that letter, Apple wrote that if we do not accept
your proposals by today then Apple would consider the parties at an impasse. We disagree that the parties are at an
impasse but we need more than 2 days to evaluate these particular proposals.

Regards, Mark

Mark Kachner
Partner
310-407-3472 Direct
Knobbe Martens

From: Passamaneck, Nora Q.E. <Nora.Passamaneck@wilmerhale.com>
Sent: Wednesday, February 23, 2022 9:14 AM
To: Masimo.Apple <Masimo.Apple@knobbe.com>; *** Apple‐Masimo <Apple‐Masimo@gibsondunn.com>
Cc: WH Apple‐Masimo Service List <WHApple‐MasimoServiceList@wilmerhale.com>
Subject: Masimo Corp. et al. v. Apple Inc., 20‐cv‐00048: correspondence

Counsel,
Please see the attached correspondence.
Regards,
Nora

Nora Q.E. Passamaneck | WilmerHale
1225 Seventeenth St.
Suite 2600
Denver, CO 80202 USA
+1 720 274 3152 (t)
+1 720 274 3133 (f)
nora.passamaneck@wilmerhale.com

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copies of this message and any attachments. Thank you.

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